Case 1:14-cv-22657-DPG Document 32 Entered on FLSD Docket 09/17/2015 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                      CASE NO. 1:14-cv-22657-DPG

  ROTHSCHILD STORAGE
  RETRIEVAL INNOVATIONS, LLC,
  a Florida limited liability company,

                         Plaintiff,

  vs.

  NOKIA INC.,
  A Delaware corporation,

                    Defendant.
  ________________________________/

             PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO STAY

         Plaintiff Rothschild Storage Retrieval Innovations, LLC (“RSRI”) responds to Defendant

  Nokia Inc.’s (“Nokia”) completely unnecessary motion to stay pending inter partes review.

  While RSRI disagrees with the allegations in Nokia’s motion, RSRI offered to agree to a stay if

  Nokia would agree to: (1) a limited estoppel, as required by the sister proceedings in the

  Northern District of California, and (2) an automatic lift of the stay pending final decision on the

  IPR. See Andrew Howard Declaration (“Howard Decl.”), Exhibit A. These conditions are

  necessary because this case is behind schedule due to Nokia’s refusal to answer for a year and

  because judicial economy would be undermined unless Nokia is estopped from rearguing issues

  currently before the Patent Trial and Appeal Board (“PTAB”). Id.

         Nokia refused and, unfortunately, has burdened the Court with this motion. Accordingly,

  RSRI responds and asks that the terms of a stay be consistent with the conditions outlined herein.
Case 1:14-cv-22657-DPG Document 32 Entered on FLSD Docket 09/17/2015 Page 2 of 5




  I.      BACKGROUND

          This case was filed in July of 2014, but Nokia has not answered. In May of 2015, various

  related cases were stayed pending an inter partes review of the patent at issue. 1 Motorola, a real

  party in interest in the IPR, is estopped from asserting that a claim is invalid on any ground that

  was raised or reasonably could have raised during the inter partes review. 35 U.S.C. § 315

  (e)(2). The related cases in California were stayed under the condition that the California

  defendants, who were not identified as real parties in interest, be “estopped from arguing any

  ground raised in the IPR on which a final decision is rendered.” D.E. 31-2 at 4.

          Nokia did not file a motion to stay at either of those times, but waited until the Court

  submitted an order setting a status conference. See Howard Decl., Ex. A.

          In the parties’ correspondence, RSRI repeatedly proposed: (1) a limited estoppel, and (2)

  for the stay to be automatically lifted at the conclusion of the IPR, without prejudice to the

  parties moving to seek another stay upon an appeal of the IPR. RSRI further noted that Nokia’s

  proposed non-opposition must “note that [RSRI] do[es] not agree with the contentions in

  [Nokia’s] motion, but only that [RSRI] do[es] not oppose for interests of judicial and party

  economy.” Id.

  II.     ARGUMENT AND AUTHORITY

          A.       A limited estoppel is a predicate to any judicial efficiency.

          As one court explained, “[the limited estoppel] results in a more streamlined litigation

  and reduces the likelihood of inconsistent judgments.” CANVS Corp. v. United States, 118 Fed.


  1
   Related cases that are currently stayed: California: Rothschild Storage Retrieval Innovations, LLC v. Sony Mobile
  Communications (USA), Inc., No. 15-cv-00234-EDL, Dkt. 80 (N.D. Cal.); Rothschild Storage Retrieval Innovations,
  LLC v. HTC Corp., et al., No. 15-cv-00373-EDL, Dkt. 64 (N.D. Cal.); Rothschild Storage Retrieval Innovations,
  LLC v. Samsung Electronics Co. Ltd., et al., No. 15-cv-00539-EDL, Dkt. 85 (N.D. Cal.); Rothschild Storage
  Retrieval Innovations, LLC v. Apple Inc., No. 15-cv-00541-EDL, Dkt. 79 (N.D. Cal.). Florida: Rothschild Storage
  Retrieval Innovations, LLC v. Motorola Mobility LLC, No. 1:14-cv-22659-RNS, Dkt. 108 (S.D. Fla.).
Case 1:14-cv-22657-DPG Document 32 Entered on FLSD Docket 09/17/2015 Page 3 of 5




  Cl. 587, 594 (2014) (quoting PersonalWeb Tech., LLC v. Google, Inc., No. 5:13-cv-1317-EJD,

  2014 WL 4100743, at *5 (N.D. Cal. Aug. 20, 2014)). This concept was directly incorporated in

  the decision on the other non-party motions to stay in the Northern District of California: “[the]

  decision to grant a stay is conditioned on Defendants’ agreement to be estopped from arguing

  any ground raised in the IPR on which a final decision is rendered.” D.E. 31-2 at 4. It found that

  “[w]ith this condition in place, a stay has the potential to greatly simplify these Court

  proceedings, weighing in favor of a stay.” Id. at 14. Nokia is attempting to obtain a stay based

  upon the same proceedings in the PTAB, but to retain the ability to re-try the issues raised in that

  proceeding once the IPR is concluded. This would utterly defeat the purpose of judicial economy

  obtained by entering a stay in the first place.

         Accordingly, RSRI respectfully requests that, if a stay is granted, Nokia should be held to

  the same estoppel as all of the other non-party defendants in related cases. A proposed order with

  this condition is attached as Exhibit 1.

         B.      The stay should be automatically lifted at the conclusion of the IPR.

         Nokia has laid behind the log on this case for more than a year, and hopes to continue to

  do so by seeking an indefinite stay. RSRI respectfully requests that the stay be automatically

  lifted upon the conclusion of the IPR so that it can attempt to obtain a scheduling order to put

  this case on schedule with the related cases. If any appeal is filed, either party can move to

  reinstate the stay at that time. RSRI’s proposed order also incorporates this provision. See

  Exhibit 1.

  III.   CONCLUSION

         Nokia’s motion is completely unnecessary outside of its attempt to obtain an unfair

  advantage by avoiding any estoppel and obtaining an indefinite stay. Nokia could have simply
Case 1:14-cv-22657-DPG Document 32 Entered on FLSD Docket 09/17/2015 Page 4 of 5




  agreed to those provisions and avoided burdening the Court with motion practice. RSRI

  respectfully requests that its proposed order be executed and entered.


  Dated: September 17, 2015                    Respectfully submitted,


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Case 1:14-cv-22657-DPG Document 32 Entered on FLSD Docket 09/17/2015 Page 5 of 5




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 17th day of September 2015, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  filing generated by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronically Notices of Electronic Filing.




                                                       /s/     Brant C. Hadaway
                                                               Brant C. Hadaway
